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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


 In Re Pharmaceutical Industry Average
 Wholesale Price Litigation                                 MDL Docket No. 1456


 THIS DOCUMENT RELATES TO:

 County of Suffolk v. Abbott Laboratories, Inc.,            Judge Patti B. Saris
 et al.,
 E.D.N.Y. Case No. CV-03-0229



     PLAINTIFF SUFFOLK COUNTY’S RESPONSE TO DEFENDANTS’ NOTICE OF
                       SUPPLEMENTAL AUTHORITY

                 The purported supplemental authority filed June 14, 2004 is a June 1, 2004 decision in the

New York Attorney General’s action styled New York v. Pharmacia Corp., GlaxoSmithKline, PLC

and Aventis Pharmaceuticals, Inc., Index Nos. 905-04, 905-03 and 1150-03 (the “decision”. The case

pends in the New York State Supreme Court (New York’s lowest court), Albany County. The decision

reinforces the viability of Suffolk’s claims under New York’s consumer protection statute, General

Business Law (“GBL”) §349 and for common law fraud. It also establishes the viability of Suffolk’s claim

under New York Social Service Law §145-b, holding unremarkably that the allegations there fail to satisfy

§145-b’s requirement that the wrong implicate public funds (p.10). Here, of course, no one even has

asserted an allegation failure of that kind.

        A. The Decision Confirms That Suffolk’s GBL §349 Claim Should Be Sustained

        The decision sustains the NYAG’s claim that defendants’ reporting of false and inflated AWPs

violates GBL §349. Suffolk asserts the same cause. The state court rejected the defendants’ arguments

(a) that “plaintiff was not deceived by the AWP as evidence[d] by government reports, regulatory and
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legislative history and public accounts, and plaintiff had the statutory right to request price information

directly from defendant manufacturers”; and (b) that plaintiff’ allegations “are not sufficiently specific and

fail to establish a prima facie claim.” Decision at 5. These are the precise arguments defendants here

advance in seeking to dismiss the Suffolk GBL §349 cause. See consolidated memorandum of law in

support of defendants’ motion to dismiss the amended complaint, at 20-22 and 34-35; consolidated reply

memorandum of law in support of defendants’ motion to dismiss the amended complaint at 7, n.8, and 19.




        To these arguments, the state court held:

        if plaintiff can establish its allegation that defendant artificially inflated prices reported to
        price reporting agencies known to be relied upon by governmental agencies for
        reimbursement purposes and the spread achieved thereto created increased profits to
        defendants through increased sales, such conduct would rise to the level of deception
        or misleading and, if established, this conduct would cause injury to plaintiff
        through increased reimbursements.

Decision at 6 (emphasis added). The court did not require the NYAG to replead with greater specificity

his §349 claims.

         The decision’s rulings on these points support entirely the arguments Suffolk advances in

opposition to defendants’ motions to dismiss its GBL §349 cause. See , e.g., Suffolk's memorandum of

law in opposition to defendants’ consolidated motion to dismiss at 31-32 (defendants’ failure to disclose

that the reported AWP does not accurately reflect the true AWP caused Suffolk to overpay for its

Medicaid pharmacy costs because of Suffolk’s “statutorily required”reliance on defendants’ reported

AWPs); at 32-33 (“It is well-established that any allegation of fraud made in connection with a GBL §349

claim is surplusage and not subject to review under Rule 9(b).” Petitt v. Celebrity Cruises, Inc., 153 F.



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Supp. 2d 240, 265 (S.D.N.Y. 2001) (quoting Hedaya Bros., Inc. v. Fed. Ins. Co., 799 F. Supp. 13,

15 (E.D.N.Y. 1992)).

        B. The Decision Confirms That Suffolk’s Fraud Claims Should Be Sustained

        The decision sustains the NYAG’s fraud claim under Executive Law §63(12). While Suffolk has

not (and could not) plead a claim under §63(12), Suffolk has plead a common law claim for fraud, and

defendants have raised like protest to it. See County of Suffolk Amended Complaint at ¶¶ 127-128;

consolidated memorandum of law in support of defendants’ motionto dismiss Suffolk Amended Complaint

at 18-20 and 35-37; consolidated reply memorandum of law at 6-7 and 12-17. In both the NYAG action

and Suffolk actions, defendants have maintained that any AWP fraud claim must fail because “the inflation

of AWPs was not deceptive or misleading because government administrators were aware of defendants’

practices”, and because of “plaintiff’s lack of specificity” in pleading the cause. Decision at 6-7.

        In rejecting defendants’ arguments and sustaining the fraud claim, the state court wrote “plaintiff

has adequately alleged a prima facie case for this cause of action inasmuch as plaintiff’s allegations, if

proven, establish a repeated misrepresentation by defendants in conducting its business and, thus, state a

claim for relief.” Decision at 7. A like outcome is required here.

        C. The Decision’s Dismissal of the NYAG’s §145-b Claim is
        Irrelevant in Important Respects; Its Authorities Helpful to Suffolk

        The New York court dismissed the NYAG’s §145-b claim on the basis that the New York

complaint contained “no allegation that defendants received any public funds as a result of their actions, as

required by the plain language of the statute.” Decision at 10, citing People v. Brooklyn Psychoservices

Rehabilitation Institute, 185 A.D.2d 230, 234, 585 N.Y.S.2d 776 (2d Dep’t 1992) (hereinafter



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“BPRI”). No defendant here has contended that Suffolk’s complaint fails to allege or permit the inference

that defendants received public funds. So much for the pertinence of this part of the New York decision.

        Moreover, the decision relied upon by the Albany count court, BPRI, actually supports Suffolk

(and the NYAG’s) position. In BPRI, the defendant doctor was held liable for a §145-b violation even

though he received no public funds at all, let alone public funds directly. See id. at 234-35 (stating that

fraudulently obtained Medicaid funds were paid through multiple corporations before inuring to the

individual defendant, Dr. Easton). Dr. Easton did not directly receive those unlawful public funds, an

Easton-controlled entity (BPRI) did. Id. Nevertheless, the court found Dr. Easton liable for violating §145-

b. Why? Not because BPRI received the public funds, but because Easton devised the fraudulent scheme

(as defendants did here) and BPRI paid rent to two realty corporations controlled by the Easton family.

Id. at 234-35. “Through Easton’s de facto control of the two realty corporations, which were ostensibly

owned by his children, the family was personally enriched when the fund collected from the Medicaid fraud

were paid in the form of grossly inflated rents.” Id. at 235.1

        That is precisely the case at case at bar. Defendants are personally enriched when the participants

in the drug distribution chain pay for defendants’ drugs using the public funds such participants receive as

a result of the AWP fraud defendants have devised. County of Suffolk Amended Complaint at ¶¶ 15, 18,

68, 98, 100-107.

         The Albany county §145-b ruling is also flawed because the plain language of §145-b does not

require that defendants themselves obtain or attempt to obtain public funds, but rather that defendants by

        1
                 Until this June 1 ruling by Justice Benza, neither BPRI nor any case prior or since has
contradicted the plain read of the statute that §145-b is violated when the wrongful misconduct occurs on
behalf of oneself or others.

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means of false statements or concealment of materialfacts obtain or attempt to obtain public funds on behalf

of themselves or others. The statute expressly states:

        It shall be unlawful for any person, firm or corporation knowingly by means of a false
        statement or representation, or by deliberate concealment of any material fact, or other
        fraudulent scheme or device, on behalf of himself or others, to attempt to obtain or to
        obtain payment from public funds or supplies furnished or purported furnished pursuant to
        this chapter.

New York Soc. Serv. L. 145-b(1)(a).

        No New York case, including BPRI, has ever ruled that a defendant is not liable for violation of

§145-b where it attempts to obtain payment of public funds on behalf of others. Nor could such a case

hold. It is axiomatic that statutes must not be interpreted so as to void their plain meaning.2 Had the

legislature wished merely to impose liability only on those who defraud on their own direct behalf, it would

have written the statute to say that.3 The legislature did not.

        Even were §145-b written to require direct benefit to defendants, which it is not, Suffolk’s §145-b

claim would stand. Suffolk specifically alleges that defendants were directly enriched when the providers



        2
                  "It is a long-held tenet of statutory interpretation that one section of a law should not be
interpreted so as to render another section meaningless." Princess Cruises, Inc. v. U.S., 201 F.3d 1352,
1362 (Fed. Cir. 2000). "Every part of a statute must be given meaning and effect...” Heard v. Cuomo, 94
N.Y.S.2d 675, 689 (N.Y. 1993). See also United States v. Ron Pair Enterprises, Inc., 489 U.S. 235,
241, 103 L. Ed. 2d 290, 109 S. Ct. 1026 (1989) (stating that its interpretation of the relevant statute
"begins where all such inquiries must begin: with the language of the statute itself"); Consumer Prod.
Safety Comm'n v. GTE Sylvania, Inc., 447 U.S. 102, 108, 100 S. Ct. 2051 (1980) [*8] (outlining the
"familiar canon of statutory interpretation" that the starting point is the plain language of the statute). In
cases where the language of the statute is unambiguous, as here, "this first canon is also the last: 'judicial
inquiry is complete.'" 503 U.S. at 254 (quoting Rubin v. United States, 449 U.S. 424, 429, 66 L. Ed. 2d
633, 101 S. Ct. 698 (1981) (Burger, C.J.)).

        3
                  See, e.g., Connecticut Nat'l Bank v. Germain, 503 U.S. 249, 253, 112 S. Ct. 1146
(1992) (Thomas, J.)("Courts must presume that a legislature says in a statute what it means and means in
a statute what it says there”).

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paid for defendants’ drugs using the public funds the providers received as a result of the AWP fraud

defendants’ devised. See County of Suffolk amended complaint at ¶¶ 380-384.

                                             CONCLUSION

                The New York decision reinforces the validity of Suffolk’s §349 and fraud claims, while

bearing little pertinence to the §145-b claim.

Dated: June 18, 2004


                                                 Respectfully submitted,


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